                                      Case 6:24-bk-02486-GER                                        Doc 2          Filed 05/19/24               Page 1 of 3

      FILL IN THIS INFORMATION TO IDENTIFY THE CASE:
      DEBTOR NAME: RED LOBSTER MANAGEMENT LLC, ET AL.
      UNITED STATES BANKRUPTCY COURT FOR THE: MIDDLE DISTRICT OF FLORIDA ORLANDO DIVISION                                                                         CHECK IF THIS IS AN
      CASE NUMBER (IF KNOWN):                                                                                                                                      AMENDED FILING


     OFFICIAL FORM 204

     CHAPTER 11 OR CHAPTER 9 CASES: LIST OF CREDITORS WHO HAVE THE 30 LARGEST
     UNSECURED CLAIMS AND ARE NOT INSIDERS                                                                                                 12/15

     A LIST OF CREDITORS HOLDING THE 30 LARGEST UNSECURED CLAIMS MUST BE FILED IN A CHAPTER 11 OR CHAPTER 9 CASE. INCLUDE CLAIMS WHICH THE DEBTOR DISPUTES. DO NOT INCLUDE CLAIMS BY ANY PERSON OR
     ENTITY WHO IS AN INSIDER, AS DEFINED IN 11 U.S.C. § 101(31). ALSO, DO NOT INCLUDE CLAIMS BY SECURED CREDITORS, UNLESS THE UNSECURED CLAIM RESULTING FROM INADEQUATE COLLATERAL VALUE PLACES THE
     CREDITOR AMONG THE HOLDERS OF THE 30 LARGEST UNSECURED CLAIMS.

                                                                                                                                                             AMOUNT OF UNSECURED CLAIM
                                                                                                             NATURE OF THE
                                                                                                                                              IF THE CLAIM IS FULLY UNSECURED, FILL IN ONLY UNSECURED
                                                                                                               CLAIM (FOR
                                                                                                                                                 CLAIM AMOUNT. IF CLAIM IS PARTIALLY SECURED, FILL IN
                                                                                                            EXAMPLE, TRADE      INDICATE IF
                                                                                                                                                  TOTAL CLAIM AMOUNT AND DEDUCTION FOR VALUE OF
                                                                                                              DEBTS, BANK        CLAIM IS
 NAME OF CREDITOR AND COMPLETE MAILING                      NAME, TELEPHONE NUMBER, AND EMAIL                                                  COLLATERAL OR SETOFF TO CALCULATE UNSECURED CLAIM.
                                                                                                                 LOANS,        CONTINGENT,
       ADDRESS, INCLUDING ZIP CODE                            ADDRESS OF CREDITOR CONTACT
                                                                                                             PROFESSIONAL     UNLIQUIDATED,
                                                                                                                                                                   DEDUCTION FOR
                                                                                                             SERVICES, AND     OR DISPUTED    TOTAL CLAIM, IF
                                                                                                                                                                     VALUE OF               UNSECURED
                                                                                                              GOVERNMENT                        PARTIALLY
                                                                                                                                                                   COLLATERAL OR              CLAIM
                                                                                                              CONTRACTS)                         SECURED
                                                                                                                                                                      SETOFF

     KENNETH O LESTER COMPANY INC (PERFORMANCE FOOD
                                                    ATTN: BRENT KING
     GROUP)
                                                    TITLE: GENERAL COUNSEL
1    12500 WEST CREEK PARKWAY                                                                                 TRADE PAYABLE                                                             $         24,403,926
                                                    PHONE: 804-484-7700
     RICHMOND, VA 23238
                                                    EMAIL: BKING@PFGC.COM
     UNITED STATES



     RUBIN POSTAER AND ASSOCIATES                       ATTN: BILL HAGELSTEIN
     2525 COLORADO AVE                                  TITLE: PRESIDENT
2                                                                                                             TRADE PAYABLE                                                             $         13,375,603
     SANTA MONICA, CA 90404                             PHONE: 310-633-6189
     UNITED STATES                                      EMAIL: BILLHAGELSTEIN@RPA.COM




     THE WASSERSTROM COMPANY                            ATTN: BRAD WASSERSTROM
     4500 E. BROAD ST.                                  TITLE: PRESIDENT
3                                                                                                             TRADE PAYABLE                                                             $          1,598,250
     COLUMBUS, OH 43213                                 PHONE: 614-235-4571
     UNITED STATES                                      EMAIL: BRADWASSERSTROM@WASSERSTROM.COM



     GORDON FOOD SERVICE CANADA LTD
                                                        ATTN: DEAN NOBLE
     199 BAY STREET
                                                        TITLE: CHIEF OPERATING OFFICER
4    SUITE 5300 COMMERCE COURT WEST                                                                           TRADE PAYABLE                                                             $          1,200,311
                                                        PHONE: 616-530-7000
     TORONTO, ON M5L 1B9
                                                        EMAIL: DEAN.NOBLE@GFS.COM
     CANADA



     IPSOS INSIGHT LLC
                                                        ATTN: MICHAEL LINK
     200 PARK AVENUE
                                                        TITLE: PRESIDENT
5    11TH FLOOR                                                                                               TRADE PAYABLE                                                             $          1,051,719
                                                        PHONE: 212-265-3200
     NEW YORK, NY 10016
                                                        EMAIL: MICHAEL.LINK@IPSOS.COM
     UNITED STATES



     MERKLE INC                                         ATTN: SUSAN ZOCH
     7001 COLUMBIA GATEWAY DR                           TITLE: GLOBAL CHIEF COUNSEL
6                                                                                                             TRADE PAYABLE                                                             $              837,255
     COLUMBIA, MD 21046                                 PHONE: 443-542-4000
     UNITED STATES                                      EMAIL: SUSAN.ZOCH@DENTSU.CO.JP



     DOORDASH INC
     303 2ND STREET                                     ATTN: PRABIR ADARKAR
     SOUTH TOWER                                        TITLE: PRESIDENT
7                                                                                                             TRADE PAYABLE                                                             $              732,984
     8TH FLOOR                                          PHONE: 650-487-3970
     SAN FRANCISCO, CA 94107                            EMAIL: PRABIR.ADARKAR@DOORDASH.COM
     UNITED STATES


     PAINT FOLKS                                        ATTN: MIKE ROSE
     105 MAIN ST                                        TITLE: CHIEF EXECUTIVE OFFICER
8    3RD FLOOR                                          PHONE: 888-888-7870                                   TRADE PAYABLE                                                             $              453,390
     HACKENSACK, NJ 07601                               EMAIL: MROSE@ACADEMYSG.COM
     UNITED STATES                                      FAX: 201-336-9180



     DINOVA INC
                                                        ATTN: VIC MACCHIO
     6455 E JOHNS CROSSING
                                                        TITLE: FOUNDER AND CHIEF STRATEGY OFFICER
9    #220                                                                                                     TRADE PAYABLE                                                             $              450,059
                                                        PHONE: 470-275-4125
     JOHNS CREEK, GA 30097
                                                        EMAIL: VICMACCHIO@DINOVA.COM
     UNITED STATES



     PRESTO AUTOMATION INC                              ATTN: RYAN ZUCCOLO
     985 INDUSTRIAL ROAD                                TITLE: PRESIDENT
10                                                                                                            TRADE PAYABLE                                                             $              368,181
     SAN CARLOS, CA 94070                               PHONE: 650-817-9012
     UNITED STATES                                      EMAIL: RYAN@PRESTOAUTOMATION.COM



     ENVIRO MASTER SERVICES LLC
                                                        ATTN: TOD BIERLING
     5200 77 CENTER DRIVE
                                                        TITLE: PRESIDENT
11   SUITE 500                                                                                                TRADE PAYABLE                                                             $              348,403
                                                        PHONE: 704-302-1016
     CHARLOTTE, NC 28217
                                                        EMAIL: TBIERLING@ENVIRO-MASTER.COM
     UNITED STATES



     BAKER & HOSTETLER LLP
                                                        ATTN: KEVIN W. SHAUGHNESSY
     200 SOUTH ORANGE AVENUE
                                                        TITLE: PARTNER
12   SUITE 2300                                                                                               TRADE PAYABLE                                                             $              331,340
                                                        PHONE: 407-649-4014
     ORLANDO, FL 32801
                                                        EMAIL: KSHAUGHNESSY@BAKERLAW.COM
     UNITED STATES




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                                                                                                                                                        AMOUNT OF UNSECURED CLAIM
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                                                                                                      LOANS,          CONTINGENT,
       ADDRESS, INCLUDING ZIP CODE                  ADDRESS OF CREDITOR CONTACT
                                                                                                  PROFESSIONAL       UNLIQUIDATED,
                                                                                                                                                            DEDUCTION FOR
                                                                                                  SERVICES, AND       OR DISPUTED        TOTAL CLAIM, IF
                                                                                                                                                              VALUE OF            UNSECURED
                                                                                                   GOVERNMENT                              PARTIALLY
                                                                                                                                                            COLLATERAL OR           CLAIM
                                                                                                   CONTRACTS)                               SECURED
                                                                                                                                                               SETOFF

     ORACLE AMERICA INC                       ATTN: SAFRA ADA CATZ
     2300 ORACLE WAY                          TITLE: CHIEF EXECUTIVE OFFICER
13                                                                                                 TRADE PAYABLE                                                              $            303,114
     AUSTIN, TX 78741                         PHONE: 737-867-1000
     UNITED STATES                            EMAIL: SAFRA.CATZ@ORACLE.COM



     CREDERA ENTERPRISES COMPANY LLC
                                              ATTN: JUSTIN BELL
     15303 DALLAS PARKWAY
                                              TITLE: CHIEF EXECUTIVE OFFICER
14   SUITE 300                                                                                     TRADE PAYABLE                                                              $            300,440
                                              PHONE: 972-692-0010
     ADDISON, TX 75001
                                              EMAIL: JBELL@CREDERA.COM
     UNITED STATES



     PEPSI CO. INC                            ATTN: MATTHEW NEIBART
     PO BOX 10                                TITLE: FINANCE MANAGER                                                    CONTINGENT,
15                                                                                                 CONTRACT CLAIM                                                                 UNDETERMINED
     WINSTON SALEM, NC 27102                  PHONE: N/A                                                               UNLIQUIDATED
     UNITED STATES                            EMAIL: MATTHEW.NEIBART@PEPSICO.COM




     PROCTOR & GAMBLE DISTRIBUTING LLC        ATTN: SUSAN STREET WHALEY
     ONE PROCTOR & GAMBLE PLAZA               TITLE: CHIEF LEGAL OFFICER AND SECRETARY                                  CONTINGENT,
16                                                                                                 CONTRACT CLAIM                                                                 UNDETERMINED
     CINCINNATI, OH 45202                     PHONE: 513-983-1100                                                      UNLIQUIDATED
     UNITED STATES                            EMAIL: WHALEY.SS@PG.COM




     A O SMITH WATER PRODUCTS                 ATTN: STEPHEN SHAFER
     12024 COLLECTIONS CENTER DRIVE           TITLE: PRESIDENT                                                          CONTINGENT,
17                                                                                                 TRADE PAYABLE                                                                  UNDETERMINED
     CHICAGO, IL 60693                        PHONE: 651-733-2204                                                      UNLIQUIDATED
     UNITED STATES                            EMAIL: STEPHENSHAFER@AOSMITH.COM




     BDG SUFKA LLC                            ATTN: EDWARD BLUMENFELD
                                                                                                                       CONTINGENT,
     300 ROBBINS LANE                         TITLE: PRESIDENT
18                                                                                                      LITIGATION   UNLIQUIDATED, AND                                            UNDETERMINED
     SYOSETT, NY 11791                        PHONE: 516-624-1900
                                                                                                                         DISPUTED
     UNITED STATES                            EMAIL: EBLUMENFELD@BDG.NET



     MARSHALL, DEZZIE RAY
     C/O LAW OFFICE OF MATTHEW STRUGAR        ATTN: MATTHEW STRUGAR
                                                                                                                       CONTINGENT,
     3435 WLSHIRE BLVD                        TITLE: LAW OFFICE OF MATTHEW STRUGAR
19                                                                                                      LITIGATION   UNLIQUIDATED, AND                                            UNDETERMINED
     STE 2910                                 PHONE: 323-696-2299
                                                                                                                         DISPUTED
     LOS ANGELES, CA 90010                    EMAIL: MATTHEW@MATTHEWSTRUGAR.COM
     UNITED STATES

     RAINBOW INVESTMENT COMPANY
                                              ATTN: SELTZER CAPLAN MCMAHON VITEK
     C/O SELTZER CAPLAN MCMAHON VITEK
                                              TITLE: PLAINTIFF COUNSEL                                                 CONTINGENT,
     750 B STREET
20                                            PHONE: 619-685-3100                                       LITIGATION   UNLIQUIDATED, AND                                            UNDETERMINED
     STE 2100
                                              EMAIL: WILLIAMS@SCMV.COM;                                                  DISPUTED
     SAN DIEGO, CA 92101-8177
                                              HICKINGBOTTOM@SCMV.COM
     UNITED STATES

     HESSLER, KATHRYN
                                              ATTN: DARREN COHEN
     C/O KINGSLEY & KINGSLEY, APC
                                              TITLE: KINGSLEY & KINGSLEY, APC                                          CONTINGENT,
     16133 VENTURA BLVD
21                                            PHONE: 818-990-8300                                       LITIGATION   UNLIQUIDATED, AND                                            UNDETERMINED
     STE 1200
                                              EMAIL: DCOHEN@KINGSLEYKINGSLEY.COM                                         DISPUTED
     ENCINO, CA 91436
                                              FAX: 818-990-2903
     UNITED STATES



                                                                                                    DEFERRED
22   NAME ON FILE                             ADDRESS ON FILE                                   COMPENSATION AND       UNLIQUIDATED                                               UNDETERMINED
                                                                                                SEVERANCE PAYABLE




                                                                                                      DEFERRED
23   NAME ON FILE                             ADDRESS ON FILE                                       COMPENSATION       UNLIQUIDATED                                               UNDETERMINED
                                                                                                      PAYABLE




                                                                                                      DEFERRED
24   NAME ON FILE                             ADDRESS ON FILE                                       COMPENSATION       UNLIQUIDATED                                               UNDETERMINED
                                                                                                      PAYABLE




                                                                                                      DEFERRED
25   NAME ON FILE                             ADDRESS ON FILE                                       COMPENSATION       UNLIQUIDATED                                               UNDETERMINED
                                                                                                      PAYABLE




                                                                                                      DEFERRED
26   NAME ON FILE                             ADDRESS ON FILE                                       COMPENSATION       UNLIQUIDATED                                               UNDETERMINED
                                                                                                      PAYABLE




                                                                                                      DEFERRED
27   NAME ON FILE                             ADDRESS ON FILE                                       COMPENSATION       UNLIQUIDATED                                               UNDETERMINED
                                                                                                      PAYABLE




                                                                                          Page 2 of 3
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                                                                                                                                                      VALUE OF            UNSECURED
                                                                                                 GOVERNMENT                        PARTIALLY
                                                                                                                                                    COLLATERAL OR           CLAIM
                                                                                                 CONTRACTS)                         SECURED
                                                                                                                                                       SETOFF


                                                                                                    DEFERRED
 28   NAME ON FILE                            ADDRESS ON FILE                                     COMPENSATION    UNLIQUIDATED                                            UNDETERMINED
                                                                                                    PAYABLE




                                                                                                    DEFERRED
 29   NAME ON FILE                            ADDRESS ON FILE                                     COMPENSATION    UNLIQUIDATED                                            UNDETERMINED
                                                                                                    PAYABLE




                                                                                                    DEFERRED
 30   NAME ON FILE                            ADDRESS ON FILE                                     COMPENSATION    UNLIQUIDATED                                            UNDETERMINED
                                                                                                    PAYABLE




NOTE: UNSECURED AMOUNTS CONTAIN PROJECTED ESTIMATES OF PRE-PETITION LIABILITY AS OF THE PETITION DATE AND ARE SUBJECT TO CHANGE AS ACCRUED LIABILITIES BECOME INVOICED.




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